977 F.2d 568
    Marsh (Edwin L.), Bigleman (Howard W.), DeCosta (AnthonyJ.), Kundick (John R.), Lehmann (Theodore T.),Lippert (Robert A.), Matsukas (FrankS.), Nagle (Lawrence V.),Stephens (William H.)v.Crucible, Inc., 1975 Salaried Retirement Plan
    NOS. 92-3065, 92-3123
    United States Court of Appeals,Third Circuit.
    Sept 25, 1992
    
      Appeal From:  W.D.Pa.,
      Mencer, J.,
    
    783 F.Supp. 938
    
      1
      AFFIRMED.
    
    